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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION




UNITED STATES OF AMERICA,                   )       Case No.: 1:06 CR 125-21
                                            )
       Plaintiff                            )      JUDGE SOLOMON OLIVER, JR.
                                            )
       v.                                   )
                                            )       ORDER ACCEPTING PLEA
SIMON VALDEZ-AMARO,                                 )   AGREEMENT, JUDGMENT
                                     AND
                                            )       REFERRAL TO U. S. PROBATION
       Defendant                            )       OFFICE



       This case is before the Court on a Report and Recommendation filed by United States

Magistrate Judge Nancy A. Vecchiarelli, regarding the change of plea hearing of Simon Valdez-

Amaro, which was referred to the Magistrate Judge with the consent of the parties.

       On May 9, 2006, the government filed a two-count indictment against Defendant Simon

Valdez-Amaro, for Conspiracy to Smuggle Aliens into and within the United States in violation

of Title 8, United States Code, Section 1324(a)(1)(A)(v)(1); Conspiracy to Commit Mail Fraud,

Wire Fraud, Document Fraud and Structuring Financial Transactions in violation of Title 18,

United States Code, Section 371. On April 17, 2006, a hearing was held in which Defendant

Valdez-Amaro entered a plea of not guilty before Magistrate Judge Nancy A. Vecchiarelli to
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counts 1 and 3, of the original indictment. On November 14, 2006, Magistrate Judge Nancy A.

Vecchiarelli received Defendant Valdez-Amaro’s plea of guilty to count 3 of the superseding

indictment and issued a Report and Recommendation (“R&R”) concerning whether the plea

should be accepted and a finding of guilty entered. Magistrate Judge Vecchiarelli filed her R&R

on November 14, 2006.

       Neither party submitted objections to the Magistrate Judge’s R&R in the ten days after it

was issued.

       On de novo review of the record, the Magistrate Judge’s R&R is adopted. Defendant

Valdez-Amaro is found to be competent to enter a plea and to understand his constitutional

rights. He is aware of the charges and of the consequences of entering a plea. There is an

adequate factual basis for the plea. The Court finds the plea was entered knowingly,

intelligently, and voluntarily. The plea agreement is approved.

       Therefore, Defendant Valdez-Amaro is adjudged guilty of Count 3 of the superseding

indictment, in violation of Title18 Section 371.

       IT IS SO ORDERED.



                                             /s/SOLOMON OLIVER, JR.
                                             UNITED STATES DISTRICT JUDGE
